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 5   Attorney for Defendant
     Erica Arceo
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 9
                              IN THE UNITED STATES DISTRICT COURT
10
                                 EASTERN DISTRICT OF CALIFONIA
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12 UNITED STATES OF AMERICA,                      ) Case No.: 2:11-CR-54 TLN
                                                  )
13                         Plaintiff,             ) MOTION TO CHANGE/EXTEND
                                                  ) VOLUNTARY SELF-SURRENDER DATE
14          v.                                    )
                                                  )
15 NICHOLO ARCEO & ERICA ARCEO,                   )
                                                  )
16                         Defendants.            )
                                                  )
17                                                )
18
            NOW COMES Defendant Erica Arceo and respectfully moves the Court to
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     change/extend the date on which Ms. Arceo is to report to the federal facility to be designated
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     by the Bureau of Prisons. At Ms. Arceo’s sentencing hearing held on September 18, 2014, the
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     Honorable Troy L. Nunley set the voluntary self-surrender date for October 30, 2014. On
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     October 2, 2014, in open court Ms. Arceo informally requested a one-week extension to
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     November 6, 2014 for the self-surrender date to assist her husband, Defendant Nicholo Arceo,
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     in wrapping up business and personal affairs. The Government’s Counsel and the Court stated
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     that they had no objection to the request.
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            WHEREFORE, Ms. Arceo respectfully submits this motion seeking an order from the
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     Court changing/extending Ms. Arceo’s voluntary self-surrender date to November 6, 2014.
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                                                Page 1
                                      MOTION TO CHANGE/EXTEND
                                   VOLUNTARY SELF-SURRENDER DATE
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 2   Dated: October 14, 2014                   /s/ Anthony C. Williams
                                               Anthony C. Williams, Esq.
 3                                             Attorney for Defendant
                                               Erica Arceo
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 5
                                        [Proposed] ORDER
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 7   IT IS HEREBY ORDERED that, for the foregoing reasons, the voluntary self-surrender date for

 8   Defendant Erica Arceo is extended to November 6, 2014.

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10   Dated: October 15, 2014

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                                            Troy L. Nunley
13                                          United States District Judge
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                                    MOTION TO CHANGE/EXTEND
                                 VOLUNTARY SELF-SURRENDER DATE
